                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                            3:07CV45-V-02
                           (3:03CR220-6-V)


BOBBY LEE WATSON,         )
     Petitioner,          )
                          )
       v.                 )                  ORDER
                          )
UNITED STATES OF AMERICA, )
     Defendant.           )
__________________________)

     THIS MATTER comes before the Court on the petitioner’s

Motion to Vacate, Set Aside, Or Correct Sentence under 28

U.S.C.§2255, filed January 29, 2006.

     By the instant Motion to Vacate, the petitioner seeks to

raise several challenges to the performance and conduct of his

former defense attorney and the prosecutor in his criminal case.

However, the Court has reviewed the record of this matter and

discovered that the petitioner’s criminal appeal still is pending

with the Fourth Circuit Court of Appeals under case number 06-

4788.   Thus, inasmuch as it is possible that the petitioner could

obtain relief on his direct appeal and, in any event, he is not

entitled both to proceed with that appeal while also pursuing the

instant collateral challenge to the same case, this Motion to

Vacate must be dismissed without prejudice.

     NOW, THEREFORE, IT IS ORDERED that the instant Motion to

Vacate is DISMISSED without prejudice as premature.



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SO ORDERED.

                               Signed: February 5, 2007




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